Case 9:18-cv-81061-RKA Document 165 Entered on FLSD Docket 01/27/2020 Page 1 of 3

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 18-cv-81061-ALTMAN/Brannon

 FUNDING METRICS, LLC

        Plaintiff,
 vs.

 DECISION ONE DEBT RELIEF LLC; D1
 SERVICING GROUP, LLC; VERITAS LEGAL
 PLAN, INC.; ANGELO ANZALONE; VICTOR
 CASTALDO; JOHN SANDOVAL; AND STEVEN
 SCORSONE,

       Defendants.
 _________________________________________/
              STIPULATION OF DISMISSAL OF CLAIMS WITH PREJUDICE

         Plaintiff Funding Metrics, LLC and Defendants Decision One Debt Relief LLC, John

  Sandoval, Veritas Legal Plan, Inc., Angelo Anzalone, Victor Castaldo, and D1 Servicing Group,

  LLC, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

  dismissal of all claims asserted in this action with prejudice, with each party to bear its own

  attorney’s fees and costs.

 Dated: January 27, 2020

 Respectfully submitted,

 s/ Matthew Triggs
 Matthew Triggs
 Florida Bar No. 0865745
 PROSKAUER ROSE LLP
 2255 Glades Road, Suite 421-A
 Boca Raton, Florida 33431
 Telephone: (561) 241-7400
 Facsimile: (561) 241-7145
 Primary e-mail: mtriggs@proskauer.com
 Secondary e-mail: florida.litigation@proskauer.com

 David A. Picon (admitted pro hac vice)
 Matthew J. Morris (admitted pro hac vice)
Case 9:18-cv-81061-RKA Document 165 Entered on FLSD Docket 01/27/2020 Page 2 of 3

 PROSKAUER ROSE LLP
 11 Times Square
 New York, New York 10036
 Telephone: (212) 969-3000
 Facsimile: (212) 969-2900
 E-mail: dpicon@proskauer.com
 mmorris@proskauer.com

 Attorneys for Plaintiff Funding Metrics, LLC


 s/ Joel S. Magolnick
 Joel S. Magolnick
 Florida Bar No. 776068
 MARKO & MAGOLNICK, P.A.
 3001 S.W. 3rd Avenue
 Miami, Florida 33129
 Telephone: (305) 285-2000
 Facsimile: (305) 285-5555
 Email: Magolnick@mm-pa.com

 Attorneys for Defendants Veritas Legal Plan, Inc.,
 Angelo Anzalone and Victor Castaldo


 s/ P. Zak Colangelo-Trenner
 P. Zak Colangelo-Trenner
 Florida Bar No. 113666
 Lewis Brisbois Bisgaard & Smith LLP
 The Alhambra
 2 Alhambra Plaza, Suite 1110
 Coral Gables, Florida 33134
 Telephone: (786) 353-0210
 Facsimile: (786) 513-2249
 Email:zak.colangelo-trenner@lewisbrisbois.com

 Stefan Savic
 Shipkevich PLLC
 65 Broadway, Ste. 508
 New York, New York 10006
 Telephone: (212) 252-3003
 Facsimile: (888) 568-5815
 Email: ssavic@shipkevich.com

 Attorneys for Defendants Decision One Debt Relief LLC
 and John Sandoval
Case 9:18-cv-81061-RKA Document 165 Entered on FLSD Docket 01/27/2020 Page 3 of 3



 s/ Sheldon J. Burnett
 Sheldon J. Burnett
 Florida Bar No. 087221
 Sheldon J. Burnett, Esq.
 17111 Biscayne Boulevard
 Suite 1711
 North Miami Beach, Florida 33160
 Telephone: (305) 333-9243
 Email: Sheldon@sjblaw.net

 Attorney for Defendant D1 Servicing Group, LLC
